          IN THE DISTRICT COURT OF THE UNITED STATES
         FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                      CHARLOTTE DIVISION

                        CRIMINAL CASE NO. 3:07cr211


UNITED STATES OF AMERICA,                 )
                                          )
                                          )
                  vs.                     )           ORDER
                                          )
                                          )
(1) MICHAEL D. PAHUTSKI                   )
(2) VICTORIA L. SPROUSE                   )
(3) R. MICHAEL GEE                        )
                                          )


      THIS MATTER is before the Court on the Government’s Motion for

Reconsideration [Doc. 135] and the Motion to Continue [Doc. 136] of

Defendant Sprouse, and the Responses of the other Defendants [Docs.

140, 141], and the Government’s Reply to the Motion of Defendant

Sprouse [Doc. 139].

      Scheduling a criminal trial of the complexity of this matter presents

serious difficulties for the Court. This is particularly true because the group

of defense attorneys who are willing and able to take on such complex

maters is small and the number of Assistant United States Attorneys

prosecuting such complex matters is likewise small. This limited group of




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attorneys on both sides of such cases presents various potential

scheduling conflicts with other such cases. The Court is in the position of

having to try to account for such potential scheduling conflicts while still

according all criminal defendants involved their rights to a speedy trial.

      In this case, counsel for one Defendant has another complex criminal

case scheduled for a month before the setting of this case. Counsel for

another Defendant currently has a case pre-emptorily set for some two

weeks after the setting in this case. The lead prosecutor in this matter has

another complex case set for six weeks after the setting of this case. No

conflicting cases, however, are scheduled for the same period as is the

trial of this case. It has been asserted that the length of the trial of this

case may present additional scheduling difficulties. If the Court were to

attempt to set a schedule that accounts for all of the potential scheduling

difficulties and inconveniences of the nature presented herein, the trial of

this case may have to be postponed for a year or possibly longer. As

such, the Court concludes that the concerns raised in the filings of the

parties regarding the present setting of the trial pertain largely to what

would be convenient or less stressful for the attorneys. While those

concerns may be legitimate, and while the Court is interested in reducing


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such stress, in the interest of according the Defendants their speedy trial

rights the Court concludes that it cannot base its scheduling decisions on

such concerns for the attorneys.

      As for the potential length of the trial of this matter, the problems

raised by the parties can be accommodated by conducting the trial from

8:00 am until 8:00 pm each day, which the Court is prepared to do, if

necessary.

      For these reasons the Court, in its discretion, determines that the

motions seeking for the Court to postpone the trial of this matter from its

pre-emptory setting of March 23, 2009, should be denied.

      IT IS, THEREFORE, ORDERED that the Government’s Motion for

Reconsideration [Doc. 135] is hereby DENIED; and the Motion to Continue

[Doc. 136] of Defendant Sprouse is DENIED; and this case remains pre-

emptorily set for trial beginning March 23, 2009.

      IT IS SO ORDERED.

                                       Signed: December 29, 2008




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